
710 S.E.2d 18 (2011)
STATE of North Carolina
v.
Derrick Lamont CRUDUP.
No. 189P11.
Supreme Court of North Carolina.
June 15, 2011.
Kay Linn Miller Hobart, Special Deputy Attorney General, for State of North Carolina.
Derrick Lamont Crudup, for Crudup, Derrick Lamont.
Sam Currin, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 20th of May 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 15th of June 2011."
